       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 1 of 25



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION



CONSUMER FINANCIAL
PROTECTION BUREAU,                           No. CV-17-127-GF-BMM

                 Plaintiff,

       v.
                                                            ORDER
THINK FINANCE, LLC, formerly
known as Think Finance, Inc., et al.,

                 Defendants.


                                INTRODUCTION

      Plaintiff Consumer Financial Protection Bureau (“CFPB”) commenced this

action on November 15, 2017. (Doc. 1.) CFPB filed an Amended Complaint on

March 28, 2018. (Doc. 38.) The Amended Complaint alleges four violations of the

Consumer Financial Protection Act. (Doc. 38 at 37-42.) Defendants Think Finance,

LLC (“Think Finance”), Think Finance SPV, LLC, Financial U, LLC, TC Loan

Service, LLC, Tailwind Marketing, LLC, TC Administrative Services, LLC, and

TC Decision Sciences, LLC (collectively “Subsidiaries”) filed the instant Motion

to Dismiss on April 24, 2018. (Doc. 50.) The Native American Financial Services

Association and the State of Oklahoma filed a joint amicus brief in support of the



                                         1
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 2 of 25



Motion to Dismiss on June 19, 2018. (Doc. 65.) The Court held a hearing on the

motion on June 21, 2018. (Doc. 66.)

                                  BACKGROUND

      Think Finance operates a lending business that extends credit, services

loans, and collects debt throughout the United States. (Doc. 38 at 4.) Think Finance

SPV, Financial U, and TC Loan Service constitute wholly-owned subsidiaries of

Think Finance. (Doc. 38 at 5-6.) Tailwind Marketing, TC Administrative Services,

and TC Decision Sciences represent wholly-owned subsidiaries of TC Loan

Service. (Doc. 38 at 6-8.) CFPB operates as an independent agency of the United

States Government created under the Consumer Financial Protection Act of 2010

(CFPA), 12 U.S.C. § 5491(a). (Doc. 38 at 3.)

      CFPB’s Amended Complaint concerns three lending businesses owned by

Indian tribes (“Tribal Lenders”) for which Think Finance provided critical

services. (Doc. 38 at 4, 9.) The Tribal Lenders are not party to this action.

      The Amended Complaint alleges that Think Finance, through the Tribal

Lenders, collected loan payments that customers did not owe, as the loans issued to

those customers were void ab initio due to violations of state law. (Doc. 38 at 29,

34, 37-39.) CFPB alleges that Think Finance used unfair and abusive practices to

collect on these void loans. (Doc. 38 at 39-41.) Finally, CFPB alleges that Think

Finance provided substantial assistance to Tribal Lenders and other entities who, in


                                           2
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 3 of 25



turn, committed deceptive, unfair, and abuse acts or practices by demanding

payment for and collecting void debts. (Doc. 38 at 41-42.)

                                   DISCUSSION

      Defendants raise multiple grounds for dismissal, including: 1) that the

structure of the CFPB is unconstitutional; 2) that the CFPB’s claims are not

permitted by the CFPA; 3) that the Complaint fails to, and cannot, join

indispensable parties; 4) that the Court lacks personal jurisdiction over Think SPV;

5) that the Complaint fails to state cognizable claims under the CFPA; and 6) that

certain claims against the Subsidiaries are time-barred. (Doc. 51 at 2.)

I.    The Structure of the CFPB

      Defendants argue that the structure of the CFPB violates the Constitution

because the President may remove the Director of the CFPB only for cause. (Doc.

51 at 16.) Defendants argue additionally that the CFPB’s ability to control its own

budget—subject to a statutory cap—unconstitutionally interferes with Congress’s

power to direct federal spending pursuant to the Appropriations Clause, U.S.

Const. art. I, § 8, cl 1. Defendants point out that the Acting Director of the CFPB

and the Department of Justice now question the constitutionality of the CFPB’s

structure. (Doc. 51 at 17 n.7)

      Nine district court orders have determined that Congress did not violate the

constitution in structuring the CFPB. CFPB v. All American Check Cashing, Inc.,
                                          3
        Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 4 of 25



No. 16-356 (S.D. Miss. Mar. 21, 2018) (ECF No. 236); CFPB v. Future Income

Payments, LLC, 252 F. Supp. 3d 961 (C.D. Cal. 2017); CFPB v. Nationwide

Biweekly Admin., Inc., No. 15-2106, 2017 WL 3948396 (N.D. Cal. Sept. 8, 2017);

CFPB v. TCF Nat’l Bank, No. 17-0166 (D. Minn. Sept. 8, 2017) (ECF No. 89);

CFPB v. Seila Law, LLC, No. 17-01081, 2017 WL 6536586 (C.D. Cal. Aug. 25,

2017); CFPB v. Navient Corp., No 17-101, 2017 WL 3380530 (M.D. Penn. Aug.

4, 2017); CFPB v. Cashcall, Inc., CV15-7522, 2016 WL 4820635 (C.D. Cal. Aug.

31, 2016); CFPB v. ITT Educ. Servs., 219 F. Supp. 3d 878 (S.D. Ind. 2015); CFPB

v. Morgan Drexen, Inc., 60 F. Supp. 3d 1082 (C.D. Cal. 2014). Only one circuit

Court that has considered the issue has determined the CFPB to be

unconstitutionally structured.1 PHH Corp. v. CFPB, 839 F.3d 1 (D.C. Cir. 2016).

The D.C. Circuit subsequently reversed that decision upon en banc consideration.

PHH Corp. v. CFPB, 881 F.3d 75 (D.C. Cir. 2018) (en banc).

       The D.C. Circuit determined ultimately that the for-cause removal

requirement does not “impair[] the President’s ability to assure the faithful

execution of the law.” Id. at 90 (citing Morrison v. Olson, 487 U.S. 654, 691-92

(1988), and Free Enterprise Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S.

477, 495-96 (2010)). Similarly, Humphrey’s Executor v. United States, 295 U.S.


1
 One district court did rely on the now-vacated panel decision to hold that the for-cause removal
provision violated the Constitution. CFPB v. D&D Mktg., No. 2:15-09692, 2016 WL 8849698
(C.D. Cal. Nov. 17, 2016).
                                                4
        Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 5 of 25



602, 619-20 (1935), upheld an identical for-cause removal provision for the

Federal Trade Commission. Aspects of this argument currently remain pending

before the Ninth Circuit. (Doc. 51 at 18 n.8.)

       Elections certainly have consequences, and the CFPB’s director and the

Department of Justice’s shifting position on this issue seem to reflect those

consequences. The Defendants present no argument, however, that has not already

been rejected by several district courts within the Ninth Circuit, and by the en banc

panel of the D.C. Circuit. The Court deems it appropriate to follow these

precedents to determine that the structure of the CFPB comports with the

Constitution.

II.    The Nature of the Claims and the CFPA

       Defendants argue that CFPB’s claims are not permitted by the CFPA.

Defendants first argue that the CFPA does not allow the CFPB to bring claims

regarding unfair, deceptive, and abusive practices (“UDAAP”) based on state law,

or to declare violations of “Federal law” without prior rulemaking. Second,

Defendants argue that Congress has explicitly prohibited the CFPB from imposing

interest rate limits.




                                          5
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 6 of 25



      A.     State Law and Usury Limits

      The Amended Complaint alleges that Defendants engaged in deceptive

(Count I), unfair (Count II), and abusive (Count III) practices when collecting on

loans made by the Tribal Lenders. (Doc. 38 at 37-44.) CFPB alleges that the law of

the states in which the Tribal Lenders’ consumers resided operated to void the

loans due to local usury limits or licensing rules. Defendants’ subsequent

collection on those void loans constituted the UDAAPs that comprise the subject

of the complaint.

      Defendants contend that the CFPB exceeds its statutory authorization to

prevent “unfair, deceptive, or abusive act[s] or practices under Federal law” and

upsets the balance of state-federal relations by enforcing state law through the

CFPA. (Doc. 51 at 21.) Defendants further contend that the CFPB attempts to

subvert Congress’s explicit prohibition on the CFPB establishing a usury limit.

(Doc. 51 at 25); 12 U.S.C. § 5517(o).

      Two district courts have considered similar arguments that the CFPB seeks

to enforce a usury limit by prohibiting the collection of void loans. Both courts

have determined that “enforc[ing] a prohibition on collecting amounts that

consumers do not owe” differs from “establish[ing] a usury limit.” CFPB v.

CashCall, Inc., No. 15-7522, 2015 WL 9591569, at *2 (C.D. Cal. Dec. 30, 2015);



                                          6
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 7 of 25



see also CFPB v. NDG Fin. Corp., No. 15-5211, 2016 WL 7188792, at *18

(S.D.N.Y. Dec. 2, 2016). The Court agrees.

      The argument that CFPB seeks to enforce state law fails for similar reasons.

The CFPA declares it unlawful for “any covered person or service provider . . . to

engage in any unfair, deceptive, or abusive act or practice.” 12 U.S.C. §

5536(a)(1)(B). The fact that state law may underlie the violation—for example, to

operate to void a loan, as alleged here—does not relieve Defendants, or any other

covered person or service provider, of their obligation to comply with the CFPA.

      B.     Rulemaking and Declaring

      The CFPA authorizes the CFPB to take action to prevent a covered person or

service provider from committing or engaging in UDAAPs. 12 U.S.C. § 5531(a).

The CFPA further authorizes the CFPB to “prescribe rules” that “identify[] as

unlawful” UDAAPs. 12 U.S.C. § 5531(b). The CFPA finally limits the types of

conduct that the CFPB may declare unfair or abusive. 12 U.S.C. § 5531(c), (d).

Defendants argue that “this structure necessarily contemplates” that the CFPB will

“make such declarations before suing under new theories” of purported UDAAPs.

(Doc. 51 at 20.)

      Two district courts to have considered this statute have determined that the

CFPA imposes no requirement that the CFPB engage in rulemaking before

bringing an enforcement action. Navient Corp., 2017 WL 3380530, at *7 (M.D.
                                         7
        Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 8 of 25



Penn. Aug. 4, 2017); CFPB v. D&D Mktg., No. 15-9692, 2017 WL 5974248, at *5

(C. D. Cal. Mar. 21, 2017). The United States Supreme Court long has recognized

that “the choice made between proceeding by general rule or by individual, ad hoc

litigation is one that lies primarily in the informed discretion of the administrative

agency.” N.L.R.B. v. Bell Aerospace Co. Div. of Textron, Inc., 416 U.S. 267, 293

(1974) (quoting SEC v. Chenery Corp., 332 U.S. 194, 203 (1947)).

       “[D]ue process requires fair notice of what conduct is prohibited.” Newell v.

Sauser, 79 F.3d 115, 117 (9th Cir. 1996). The CFPA provides fair notice that it

prohibits “unfair, deceptive, or abusive act[s] or practice[s].” As other district

courts have noted, other consumer protection statutes and regulations use these

terms, and their meaning provides “the minimal level of clarity that the due process

provision demands of non-criminal economic regulation.” CFPB v. Cashcall, Inc.,

CV15-7522, 2016 WL 4820635, at *12 (C.D. Cal. Aug. 31, 2016) (quoting CFPB

v. ITT Educ. Servs., Inc., 2015 WL 1013508, at *20 (S.D. Ind. Mar. 6, 2015)); see

also CFPB v. Gordon, 819 F.3d 1179, 1193 n.7 (9th Cir. 2016).

III.   Tribal Lenders as Indispensable Parties

       The Court must join parties that “claim[] an interest relating to the subject of

the action” and are “so situated that disposing of the action in the person’s

absence” may “impair or impede the person’s ability to protect the interest.” Fed.

R. Civ. P. 19(a)(1)(B). Where such a party cannot be joined, the court must
                                           8
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 9 of 25



consider “whether, in equity and good conscience, the action should proceed.” Fed.

R. Civ. P. 19(b). To determine whether a complaint should be dismissed for failure

to join an indispensable party, the Ninth Circuit asks: 1) whether the absent parties

are necessary; 2) whether they cannot be joined; and 3) whether the absent parties

are indispensable. Dawavendewa v. Salt River Project Agric. Improvement and

Power Dist., 276 F.3d 1150, 1155 (9th Cir. 2002).

      Defendants argue that the Tribal Lenders constitute indispensable parties

that cannot be joined due to principles of tribal sovereign immunity and immunity

under the CFPA. (Doc. 51 at 26.) Defendants first argue that Tribal Lenders’

contractual interests would be impaired by resolution of the instant matter if the

Court should determine that state law operates to void loans whose contracts

contain choice of law provisions. (Doc. 51 at 26.) Defendants next argue that the

Tribal Lenders may not be joined because tribes are immune from suit under the

CFPA. (Doc. 51 at 27.) Finally, Defendants argue that the Tribal Lenders are

indispensable because this action could impair the Tribal Lenders’ ability to select

tribal law to govern their contracts, and “would not address the Tribal Lenders’

contention that they are not ‘covered persons’ under the CFPA.” (Doc. 51 at 28.)

      CFPB first asserts that the Tribal Lenders do not represent necessary parties

because they have not “actually claimed [they] ha[ve] a legally protected interest”

in this litigation. (Doc. 59 at 29 (quoting Lopez v. Fed Nat. Mortg. Ass’n, No. 13-


                                          9
      Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 10 of 25



4782, 2013 WL 7098634, at *6 (C.D. Cal. Oct. 8, 2013).) Had the Tribal Lenders

claimed an interest, CFPB asserts that the Tribal Lenders still would not be

necessary parties as CFPB does not seek rescission of the contracts, contractual

remedies, or any relief from the tribe, but instead seeks tort remedies that they may

recover from Defendants as joint tortfeasors. (Doc. 59 at 30.) Finally, CFPB argues

that the Tribal Lenders are not necessary parties because Defendants adequately

can represent the Tribal Lenders’ arguments and interests. (Doc. 59 at 30.)

      CFPB further asserts that, even if the Tribal Lenders constitute necessary

parties, dismissal remains unwarranted because the Tribal Lenders may be joined.

(Doc. 59 at 31.) CFPB relies upon CFPB v. Great Plains Lending, LLC, 846 F.3d

1049, 1050 (9th Cir. 2017), cert. denied, 138 S.Ct. 555 (2017), for the proposition

that Tribal Lenders qualify as “persons” subject to the Bureau’s investigative

authority. CFPB additionally highlights that the Tribal Lenders’ status as “arms of

the tribes” remains unclear, and that tribal sovereign immunity does not apply in

suits brought by a federal agency. (Doc. 59 at 31 n.11-12.)

      The Great Plains decision relied on Donovan v. Coeur d’Alene Tribal Farm,

751 F.2d 1113 (9th Cir. 1985), in which the Ninth Circuit determined that the

Occupational Safety and Health Act (“OSHA”) applied to tribal entities. OSHA

represents a law of general applicability and Congress has not explicitly provided

otherwise. Id. Where a law of general applicability remains silent as to Indian


                                         10
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 11 of 25



tribes, the law will apply to tribes unless: “(1) the law touches exclusive rights of

self-governance in purely intramural matters; (2) the application of the law to the

tribe would abrogate rights guaranteed by Indian treaties; or (3) there is proof by

legislative history or some other means that Congress intended the law not to apply

to Indians or their reservations.” Coeur d’Alene, 751 F.2d at 1116. The Court notes

that the standard upon which the Ninth Circuit based its decision in Great Plains

asked whether the CFPB “plainly lacked jurisdiction” to issue investigative

demands to tribal entities. Id. at 1058.

      Alternatively, CFPB raises the “public rights” exception to Rule 19

dismissal. The burden on the contractual rights of nonparties proves acceptable

where public rights are “vindicated by restraining the unlawful actions of the

defendant even though the restraint prevent[s] [] performance of [] contracts,”

“because such adjudications do not destroy the legal entitlements of the absent

parties.” Conner v. Burford, 848 F.2d 1441, 1459 (9th Cir. 1988). CFPB claims

that it falls within the public rights exception. (Doc. 59 at 32.) It seeks relief solely

from Defendants, and does not seek to destroy the Tribal Lenders’ legal rights. Id.

      The Court acknowledges the gravity of the tribal interests potentially put at

stake by tribes and other actors engaging in the conduct alleged by the CFPB’s

complaint. The Court remains keenly aware of the tribal sovereign immunity

doctrine and sensitive to the doctrine’s implications for litigation in federal court.


                                           11
      Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 12 of 25



See Cain v. Salish Kootenai College, CV-12-181-M-BMM, 2018 WL 2272792 (D.

Mont. May 17, 2018). The Court notes, however, that the extent of the remedies

sought by the CFPB arguably will not impede the Tribal Lenders’ ability to collect

on their contracts or enforce their choice of law provisions directly. Under these

circumstances, the Court will not create a means for businesses to avoid regulation

by hiding behind the sovereign immunity of tribes when the tribes themselves have

failed to claim an interest in the litigation. The same Tribal Lenders notably have

claimed an interest in the ongoing Pennsylvania litigation by providing

declarations in support of Think Finance and Subsidiaries’ Motion to Dismiss for

Failure to Join Indispensable Parties. Cf. Pennsylvania v. Think Finance, No. 14-

cv-7139 (E.D. Pa. Jan. 14, 2016) (ECF No. 67-2, 67-3, 67-4) (declarations of

representatives of Tribal Lenders).

IV.   Personal Jurisdiction over Think SPV

      Defendants contend that the CFPB’s claims against Think SPV must be

dismissed as the court lacks personal jurisdiction over SPV. (Doc. 51 at 29.)

Defendants argue that SPV lacks the requisite continuous and systematic contacts

that would render it “essentially at home” for purposes of general jurisdiction.

(Doc. 51 at 29.) Defendants further argue that CFPB has failed to allege that SPV

purposely has directed activities at Montana from which this case arises or to

which this case relates. (Doc. 51 at 30.) Defendants liken SPV to an investor, and
                                         12
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 13 of 25



highlight the unfairness of haling investors into Court in each state where a

plaintiff experienced an injury regardless of the effect of the defendant’s conduct.

(Doc. 51 at 31.)

       CFPB counters that SPV’s status as an alter ego of Think Finance subjects

SPV to personal jurisdiction in this Court. Personal jurisdiction is imputed to alter

egos. Ranza v. Nike, Inc., 793 F.3d 1059, 1071 (9th Cir. 2015). The alter ego test

requires a prima facie showing: (1) of “such unity of interest and ownership that

the separate [entities] . . . no longer exist,” and (2) that “failure to disregard [the

entities’ separateness] would result in fraud or injustice.” Id. at 1073. “Pervasive

control over the subsidiary” where the parent company “dictates every facet of the

subsidiary’s business” sufficiently demonstrates unity of interest and ownership.

Id.

       The Amended Complaint describes Think SPV as a wholly-owned

subsidiary of Think Finance, lacking its own office or infrastructure. (Doc. 38 at

5.) The Amended Complaint alleges that Think Finance management controls and

manages SPV. (Doc. 38 at 13.) The Amended Complaint further alleges that SPV

conducts no business without the “involvement and control” of Think Finance,

such that Think Finance remains responsible for SPV’s debts, benefits from SPV’s

operations, performs all of SPV’s contractual obligations, makes all of SPV’s

business decisions, and conducts all of SPV’s operations. (Doc. 38 at 13.) The


                                            13
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 14 of 25



CFPB asserts that SPV’s sole purpose was to invest in GPL Servicing, Ltd., the

investment fund that financed the tribal lenders. (Docs. 38 at 5; 59 at 23.)

      Think Finance has emphasized the relatedness of its subsidiaries in the

ongoing bankruptcy action. Think Finance, in the bankruptcy action, describes all

of the Think entities’ “financial affairs and business operations” as “closely

related.” (Doc. 59 at 24 n.7.) SPV in particular serves as the sole remaining holder

of $50 million worth of shares in GPL Servicing, while other subsidiaries remain

undercapitalized. (Doc. 59 at 24.)

      CFPB additionally argues that, even if the Court determines that SPV is not

the alter ego of Think Finance, SPV’s participation in Think Finance’s activities

constitutes purposeful direction and availment. (Doc. 59 at 25.) These allegations

prove sufficient at this stage of the proceedings. As the Ninth Circuit noted in

Ranza, the United States Supreme Court in Daimler AG v. Bauman, ___ U.S. ___,

134 S.Ct. 746, (2014), left intact the Ninth Circuit’s alter ego test for “imputed”

general jurisdiction. 793 F.3d at 1071. The alter ego test analyzes whether the

parent and subsidiary are “not really separate entities,” such that one entity’s

contacts with the forum state can fairly be attributed to the other. Doe v. Unocal

Corp., 248 F.3d 915, 926 (9th Cir. 2001). Parental control of the subsidiary’s

internal affairs or daily operations typifies the “alter ego” relationship. Id.




                                           14
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 15 of 25



      The combination of the allegations in the Amended Complaint and Think

Finance’s representations in its bankruptcy proceeding satisfies the alter ego test

for purposes of establishing general jurisdiction at this stage of the proceedings.

SPV holds the remaining $50 million worth of shares in GPL. All of Think’s

entities, including SPV, retain “closely related” financial affairs and business

operations. Further discovery will reveal how closely related these operations

remain. Discovery also will determine whether CFPB can establish whether Think

Finance’s conduct imputes to SPV. Further discovery also will determine whether

CFPB can establish that Think Finance stands responsible for SPV’s debts,

whether Think finance stands as the beneficiary of SPV’s operations, and whether

Think Finance performs all of SPV’s contractual obligations, makes all of SPV’s

business decisions, and controls all of SPV’s operations. Defendants remain free to

pursue this claim at summary judgment.

V.    Failure to State a Claim Arguments

      Defendants claim that the CFPB has engaged in improper group pleading by

failing to identify which Subsidiaries were involved in what conduct giving rise to

the Complaint. (Doc. 51 at 32.) Defendants further allege that the CFPB has failed

to plead the statutory elements to support its four claims. (Doc. 51 at 31.)

      A motion to dismiss for failure to state a claim under Rule 12(b)(6) of the

Federal Rules of Civil Procedure tests the legal sufficiency of a complaint.
                                          15
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 16 of 25



Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). In evaluating a 12(b)(6)

motion, the Court “must take all allegations of material fact as true and construe

them in the light most favorable to the nonmoving party.” Kwan v. Sanmedica

Int’l, 854 F.3d 1088, 1096 (9th Cir. 2017) (quoting Turner v. City and County of

San Francisco, 788 F.3d 1206, 1210 (9th Cir. 2015)). To survive a motion to

dismiss, the complaint must allege sufficient facts to state a plausible claim for

relief. Taylor v. Yee, 780 F.3d 928, 935 (9th Cir. 2015).

      Federal courts generally view “with disfavor” Rule 12(b)(6) dismissals.

Rennie & Laughlin, Inc. v. Chrysler Corp., 242 F.3d 208, 213 (9th Cir. 1957). “A

case should be tried on the proofs rather than the pleadings.” Id. Such dismissals

are “especially disfavored” where the plaintiff bases the complaint on “a novel

legal theory that can best be assessed after factual development.” McGary v. City

of Portland, 386 F.3d 1259, 1270 (9th Cir. 2004) (citations omitted). New legal

theories should “be explored and assayed in the light of actual facts rather than a

pleader’s suppositions.” Id.

      A.     Group Pleading

      Defendants contend that CFPB’s lack of specificity regarding actions taken

by Think Finance and each of its Subsidiaries requires dismissal of the Amended

Complaint because the allegations fail to put each defendant on notice of its

alleged wrongdoing. (Doc. 51 at 32.) Defendants further contend that the CFPB
                                          16
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 17 of 25



may not state a claim based on common enterprise liability because Congress did

not expressly reference such liability within the statute. (Doc. 51 at 32.)

      Defendants rely on the district court order in Pennsylvania v. Think Finance,

No. 14-cv-7139, 2016 WL 183289, at *26 (E.D. Pa. Jan. 14, 2016), for the

proposition that the CFPA fails to support such a theory of liability. At least one

other district court explicitly has rejected the holding of Pennsylvania, however,

and determined that common enterprise liability applies under the CFPA based on

an analogous reading of the Federal Trade Commission Act (“FTCA”). NDG, 2016

WL 7188792, at *16.

      The Ninth Circuit has yet to consider directly whether common enterprise

liability exists under the CFPA. The Ninth Circuit has determined that the FTCA

may inform a court’s interpretation of the CFPA because Congress used similar

language in constructing the two statutes. See Gordon, 819 F.3d at 1192-93 n. 7-8.

The FTCA likewise fails to specifically provide common enterprise liability. The

Ninth Circuit nevertheless has recognized that such liability exists under the

statute. FTC v. Network Servs. Depot, Inc., 617 F.3d 1127, 1142-43 (9th Cir. 2010).

The Court thus concludes that common enterprise liability presents a plausible

means by which the CFPB may state a claim against Defendants alleging violation

of the CFPA.




                                          17
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 18 of 25



      B.     Count I: Deceptive Conduct

      An act or practice proves deceptive if it makes: (1) material

misrepresentations that are (2) likely to mislead consumers, who are (3) acting

reasonably under the circumstances. Gordon, 819 F.3d 1179, 1192 (9th Cir. 2016).

Defendants argue that the CFPA requires claims for deceptive conduct to meet the

heightened pleading standards of Federal Rule of Civil Procedure 9(b). (Doc. 51 at

33.) Rule 9(b) requires a party to “state with particularity the circumstances

constituting” allegations of fraud or mistake. Fed. R. Civ. P. 9(b).

      Under this standard, Defendants argue, the CFPB has failed to plead that

Defendants made specific statements or specific omissions that were deceptive.

(Doc. 51 at 33.) Defendants argue additionally that even if CFPB had met the Rule

9(b) standard, it has failed to demonstrate that Defendants made statements “likely

to mislead consumers acting reasonably under the circumstances . . . in a way that

is material.” (Doc. 51 at 35) (quoting Davis v. HSBC Bank Nev., N.A., 691 F.3d

1152, 1168 (9th Cir. 2012)). Defendants argue that the Amended Complaint

acknowledges that borrowers’ loan agreements contained choice of law provisions.

As a result, Defendants contend that CFPB has failed to allege misrepresentation of

fact. (Doc. 51 at 35.)

      CFPB urges the Court to hold that Rule 9(b) does not apply to deception

claims because fraud claims require different elements than deception claims and

                                          18
      Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 19 of 25



because consumer protection statutes bear particular remedial purposes. (Doc. 59

at 15.) CFPB identified one district court that held that 9(b) does apply to CFPA

deception claims. CFPB v. Prime Mktg. Holdings, LLC, No. 16-07111, 2016 WL

10516097, at *6 (C.D. Cal. Nov. 15, 2016).

      CFPB also highlighted three district court orders that declined to apply Rule

9(b) to claims arising under the CFPA. CFPB v. D&D Mktg., No. 2:15-09692,

2016 WL 8849698, at *10-11 (C.D. Cal. Nov. 17, 2016); CFPB v. All American

Check Cashing, Inc., No. 3:16-CV-00356-WHB-JCG at 6 (S.D. Miss. July 15,

2016) (ECF No. 24); CFPB v. Frederick J. Hanna, 114 F. Supp. 3d 1342, 1373

(N.D. Ga. 2015). Other courts have determined that Rule 9(b) does not apply to

consumer protection claims arising under other statutes. See Neild v. Wolpoff &

Abramson, LLP, 453 F. Supp. 2d 918, 923–24 (E.D. Va. 2006) (a § 1692e(8)

violation of the Fair Debt Collection Practices Act is not fraud so Rule 9(b) does

not apply); FTC v. Freecom Commc'ns, Inc., 410 F.3d 1192, 1204 n.7 (10th Cir.

2005) (declining to apply Rule 9(b) to the FTCA); Le Blanc v. Unifund CCR

Partners, 601 F.3d 1185, 1190 (11th Cir. 2010) (declining to apply Rule 9(b) to the

FDCPA).

      These decisions rely primarily on Leatherman v. Tarrant County Narcotics

Intelligence & Coordination Unit, 507 U.S. 163 (1993). The United States

Supreme Court in Leatherman cautioned against extending the heightened pleading


                                         19
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 20 of 25



standard beyond claims for fraud of mistake. Id. at 164. Other courts have

recognized the “remedial nature” of consumer protection statutes which Congress

enacted to facilitate a consumer's ability to enforce their rights. See Frederick J.

Hanna & Assoc., 114 F. Supp. 3d at 1371–74.

      The Court recognizes the overwhelming weight of precedent in favor of the

CFPB’s position. The Court declines to apply the Rule 9(b) heightened pleading

standard to the CFPA. CFPB has alleged that material misrepresentations occurred

when Defendants informed consumers, impliedly and explicitly, that they

possessed a legal obligation to pay. (Doc. 59 at 13-14.) CFPB’s allegations

sufficiently state a claim for deceptive practices under the CFPA at this stage.

      C.     Count II: Unfair Conduct

      The CFPA defines “unfair” as an act or practice that “causes or is likely to

cause substantial injury to consumers which is not reasonably avoidable by

consumers” and “not outweighed by countervailing benefits to consumers or to

competition.” 12 U.S.C. §§ 5531(c)(1)(A)-(B). Defendants contend that consumers

could have “reasonably avoided” the harm alleged by not accepting the terms of

the loans when the lenders disclosed the terms before the signing. (Doc. 51 at 36.)

Defendants further allege that Count II must be dismissed because CFPB failed to

quantify or identify the benefits that the loans provided to their borrowers. (Doc.

51 at 37.)
                                          20
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 21 of 25



      Defendants’ motion focuses on the wrong part of the loan transaction.

Customers could not have avoided the alleged injury—Defendants’ attempted

collection of amounts that the consumer allegedly did not owe—by declining the

loan. The customer’s contract already had been made at the time that Defendants

collected on the loans. The Court further determines that Defendants’ argument

regarding quantification of the benefits of the products should be raised at the

merits stage of the litigation.

      D.     Count III: Abusive Conduct

      The CFPA defines abusive conduct as an act that “materially interferes with

the ability of a consumer to understand a term or condition of a consumer financial

product or service,” or “takes unreasonable advantage of:” 1) the consumer’s “lack

of understanding. . . of the material risks, costs, or conditions of the product or

service,” 2) the consumer’s “inability to protect [their] interests . . . in selecting or

using a consumer financial product or service,” or 3) the consumer’s “reasonable

reliance . . . on a covered person to act in the [consumer’s] interest.” 12 U.S.C. §

5531(d). Defendants argue that CFPB does not allege that Defendants failed to

disclose any material terms of the loan to the subject borrowers or did anything to

interfere with the borrowers’ understanding of the relevant terms. (Doc. 51 at 38.)

      The Amended Complaint alleges that borrowers lacked an understanding of

the law applicable to Defendants’ loans and how those laws affected repayment
                                            21
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 22 of 25



obligations. (Doc. 59 at 17.) The statute provides liability for acts that “take

unreasonable advantage of” this kind of lack of understanding. 12 U.S.C. §

5531(d)(2). At this stage of the litigation, with all facts taken as true as required by

the 12(b)(6) standard, this allegation sufficiently states a claim for abusive conduct

under the CPFA.

       E.     Count IV: Substantial Assistance

       Defendants argue that the substantial assistance claim is “wholly derivative”

and must be dismissed with Counts I-III. (Doc. 51 at 36.) For the reasons stated

above, the Court determines that such dismissal remains unwarranted at this stage

of the litigation.

       Defendants also argue that Tribal Lenders do not qualify as “persons” or

“covered persons” under the CFPA. (Doc. 51 at 37.) The Court declines to decide

at this juncture whether Tribal Lenders qualify as “persons” or “covered persons”

within the meaning of the statute. The Ninth Circuit determined in Great Plains

Lending, however, that the CFPB did not “plainly lack[ ] jurisdiction” to issue

investigative subpoenas to tribal entities. 846 F.3d at 1050. As 12(b)(6) dismissals

remain disfavored, the Court will allow the CFPB to proceed on the substantial

assistance claim. Defendants remain free to further develop this defense at

summary judgment.



                                           22
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 23 of 25



VI.   Statute of Limitations

      Defendants argue that the statute of limitations bars claims against the

Subsidiaries for conduct arising before March 28, 2015. (Doc. 51 at 39.) The

CFPA bars the CFPB from bringing an action relating to conduct that occurred

“more than 3 years after the date of discovery of the violation to which an action

relates.” 12 U.S.C. § 5564(g).

      CFPB began investigating potential violations of the CFPA by Think

Finance, the Subsidiaries, and the Tribal Lenders, on approximately June 12, 2012.

(Doc. 51 at 39.) Defendants argue that these investigations, therefore, put CFPB on

notice of potential violations “by then or shortly afterward.” (Doc. 51 at 39.)

      CFPB filed its Amended Complaint on March 28, 2018. (Doc. 38.)

Consequently, Defendants argue, the Court must dismiss allegations regarding

conduct undertaken before March 28, 2015. CFPB entered into a tolling agreement

with Think Finance, LLC (formerly Think Finance, Inc.). (Doc. 51 at 40.) CFPB

argues that this tolling agreement binds the Subsidiaries as alter egos of Think

Finance. (Doc. 59 at 27.) Defendants argue that only Think Finance remains

bound. (Doc. 51 at 40.)

      The running of the statute must be apparent on the face of the complaint to

permit dismissal based on the statute of limitations. Von Saher v. Norton Simon

Museum of Art at Pasadena, 592 F.3d 954, 960, 969 (9th Cir. 2010). The

                                          23
       Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 24 of 25



defendant bears the burden of proving that an action is time-barred. Cal. Sansome

Co. v. U.S. Gypsum, 55 F.3d 1402, 1406 (9th Cir. 1995).

      Defendants’ arguments fail for three related reasons. First, Defendants have

failed even to attempt to establish when CFPB discovered the Subsidiaries’ alleged

violations. Without such showing, Defendants cannot meet their burden to

demonstrate that this action is time-barred.

      Second, the statute refers to the date of discovery. Defendants request

dismissal of all claims related to conduct occurring before March 28, 2015.

Defendants’ request confuses the date of the conduct with the date of CFPB’s

discovery of the alleged violation. Absent tolling, discussed below, the Amended

Complaint properly could encompass any violations that CFPB discovered on or

after March 28, 2015, regardless of the date of the underlying conduct.

      Third, at this stage, the Court must take as true the allegations pleaded in the

Amended Complaint. See Ashcroft v. Iqbal, 556 U.S. 662, 696 (2009). CFPB has

pleaded that the Subsidiaries exist as alter egos of Think Finance. See Part IV,

supra. This theory of liability thus logically imputes the tolling agreement to the

alter egos. SOS Co. v. –Collar Techs., Inc., No. 16-9667, 2017 WL 5714716, at *5

(C.D. Cal. Oct 17, 2017).




                                          24
      Case 4:17-cv-00127-BMM Document 78 Filed 08/03/18 Page 25 of 25



                                 ORDER

     Accordingly, IT IS HEREBY ORDERED, that Defendants’ Motion to

Dismiss (Doc. 50) is DENIED.

     DATED this 3rd day of August, 2018.




                                    25
